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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

QUILL INK BOOKS LIMITED,a foreign
corporation ,

               Plaintiff,

v.

(1) ABCD GRAPHICS AND DESIGN,                        Case No. 5:18-cv-00920-G
 INC., D/B/A BLUSHING BOOKS
 PUBLISHING,a foreign corporation
(2)RACHELLE SOTO a/k/a ADDISON
 CAIN, an individual, and
(3)JOHN and JANE DOE,unknown
 individuals and online participants ,

               Defendants.

                            DECLARATION OF RACHELLE SOTO
                            IN SUPPORT OF MOTION TO DISMISS

       I, Rachelle Soto, declare:

        1.     I am over the age of 18 and competent to make this declaration. I submit this

declaration in support of the motion to dismiss the claims asserted against me personally in this

case. I have personal knowledge of the matters contained herein.

       2.      I own a home and currently reside in Stafford, Virginia and have done so since

July 2015. Prior to that I lived in Kyoto, Japan for approximately two years, and before Japan, I

lived in Virginia for about three years. I have been a Virginia resident for the past 10-years, have

a Virginia driver's license, pay Virginia state income taxes, and am registered to vote in Virginia.

       3.      I have never resided in the State of Oklahoma. I do not have an Oklahoma address

 or phone number. I do not own any personal or real property or any other assets located in

 Oklahoma. I have never been employed in Oklahoma and have never paid Oklahoma income tax.

       4.      I have never filed any lawsuits in the State of Oklahoma.



                                        EXHIBIT
                                          1
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                                                              Exhibit 1
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